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Attorneys for Plaintiff 901 Ernston Road LLC

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                                 Civil Action No.: 3:18-cv-02442-AET-TJB
901 ERNSTON ROAD LLC,
                                                 NOTICE OF EMERGENT APPLICATION
                          Plaintiff,             FOR AN ORDER TO SHOW CAUSE
                                                 WHY THE COURT SHOULD NOT
                 v.                              ISSUE A PRELIMINARY INJUNCTION

BOROUGH OF SAYREVILLE ZONING                     Oral Argument Requested
BOARD OF ADJUSTMENT; and
BOROUGH OF SAYREVILLE,
                                                 Return Date: To be determined
                          Defendants.
                                                       (Document filed electronically)

          PLEASE TAKE NOTICE that at a date and time to be set by the Court, pursuant to

Federal Rule of Civil Procedure 65(a) and Local Civil Rule 65.1, Plaintiff, 901 Ernston Road

LLC (“Plaintiff”), through its attorneys, Marino, Tortorella & Boyle, P.C. (Kevin H. Marino,

Esq., appearing) and Kaufman, Coren & Ress, P.C. (Steven M. Coren, Esq., appearing), will

request that the Honorable Anne E. Thompson, U.S.D.J., United States District Court for the

District of New Jersey, Clarkson S. Fisher Federal Building & U.S. Courthouse, Courtroom 4W,

402 East State Street, Trenton, NJ 08608, enter an Order requiring Defendants, Borough of

Sayreville Zoning Board of Adjustment and Borough of Sayreville (collectively, “Defendants”),

to show cause why the Court should not grant a preliminary injunction (a) directing Defendants
*
    Pro hac vice applications to be submitted.
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to issue all zoning approvals necessary for the construction and operation of a proposed

residential drug and alcohol treatment facility (the “Facility”) at 901 Ernston Road, Borough of

Sayreville, County of Middlesex, State of New Jersey (Block 438, lot 1, Block 452, lot 1, as

shown on the current tax map of the Borough of Sayreville); and (b) enjoining Defendants from

persisting in discriminatory conduct designed to thwart the construction and operation of the

Facility.

        PLEASE TAKE FURTHER NOTICE that in support of its Application and the Order to

Show Cause, Plaintiff will rely on the Memorandum of Law and Certifications of Dr. Deni

Carise and David B. Himelman, Esq. submitted herewith, and upon all prior pleadings had

herein. A proposed form of Order is also submitted herewith.

        PLEASE TAKE FURTHER NOTICE that Plaintiff respectfully requests oral argument

on this application and the Order to Show Cause.

Dated: March 6, 2018
       Chatham, New Jersey                  Respectfully submitted,

                                    BY:
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